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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                     Case No. 9:19-cv-81160-RS




   APPLE INC.,

                                Plaintiff,

          v.

   CORELLIUM, LLC,

                              Defendant.



             PLAINTIFF APPLE INC.’S MOTION TO FILE UNDER SEAL
             PORTIONS OF PLAINTIFF APPLE INC.’S OPPOSITION TO
         DEFENDANT CORELLIUM, LLC’S MOTION FOR RECONSIDERATION

         Plaintiff, Apple Inc. (“Apple”), by and through undersigned counsel, pursuant to S.D. Fla.

  Local Rule 5.4, respectfully moves this Court for an order authorizing the filing under seal of

  portions of Apple’s Opposition to Defendant Corellium, LLC’s Motion for Reconsideration

  (“Opposition”), ECF No. 192. In support of this request, Apple states as follows:

         1.      On December 13, 2019, the Court entered a Stipulated Confidentiality and

  Protective Order, ECF No. 50 (“Protective Order”). The Protective Order permits the parties to

  designate Protected Material pursuant to Protective Order ¶ 7, and further provides that “[a]ny

  Party is authorized under Rule 5.4 of the Southern District of Florida Local Rules to file under seal

  with the Court any brief, document or materials that are designated as Protected Material under

  this Order.” Protective Order ¶ 15(b).

         2.      On February 26, 2020, Apple filed its Opposition to Defendant Corellium, LLC’s

  Motion for Reconsideration, ECF No. 192.
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         3.       Footnote one of the Opposition contains a phrase that refers to material Corellium

  has designated Confidential – Attorneys’ Eyes Only pursuant to the Protective Order. Footnote

  one also contains a phrase that refers to content in Exhibit 3 to Corellium’s Opposition to Plaintiff

  Apple Inc.’s Motion for Protective Order Barring Deposition of Plaintiff’s Apex Employee that

  Corellium has described as “highly confidential, proprietary, and trade secret information.” ECF

  No. 179 ¶ 5; see also ECF No. 175-3.

         4.       On February 26, 2020, the Court granted Corellium’s motion to seal the portions of

  Exhibit 3, including the portions Apple refers to in footnote one of the Opposition. ECF No. 182.

         5.       Corellium has represented to Apple that the information contained in footnote one

  of the Opposition that is the subject of this motion relates to information Corellium has deemed

  confidential.

         6.       Consistent with the Protective Order and Corellium’s prior representation to Apple

  regarding the information contained in footnote one of the Opposition, Apple moves to file under

  seal two short phrases in footnote one of the opposition. Apple reserves all rights to challenge

  Corellium’s designation of this and other material as Confidential and/or Confidential – Attorneys’

  Eyes Only.

         WHEREFORE Apple respectfully requests that, unless and until Corellium’s Confidential

  – Attorneys’ Eyes Only designations or its confidentiality representations are changed or rejected,

  the portions of the following document remain under seal through the final resolution of this matter,

  including during any period of appeal taken by any party to this case except as otherwise stated in

  the above-referenced Protective Order, as ordered by this Court, or required by law:

               a. Portions of Apple’s Opposition to Defendant Corellium, LLC’s Motion for

                  Reconsideration.



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         A proposed order is submitted herewith.

                              LOCAL RULE 7.1(A)(3) CERTIFICATION

         Pursuant to Local Rule 7.1(a)(3), the undersigned counsel verifies that counsel for Plaintiff

  conferred via email with counsel for Defendant on February 26, 2020, regarding the relief sought

  herein. Defendant does not oppose.



   Dated: February 26, 2020                            Respectfully Submitted,


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